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                        UNITED STATES DISTRICT COURT
    I   [3)-j CLERK        DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                      Hon.

                                              Criminal Number:      I   93
              v.
                                              18 U.S.C.   § 1343
DAVID BUCKINGHAM                              18 U.S.C.   § 2


                                INDICTMENT

        The Grand Jury in and for the District of New Jersey, sitting         ewark

charges
                                                                   FILEtb
                          COUNTS ONE THROUGH FIVE
                                                                   DEC 19
                                 (Wire Fraud)                                      5   M
                                                                   .UJM,4T.WAt H

                             Individuals and Entities

        1.    At all times relevant to this Indictment:

              a.    Defendant    David   Buckingham       (“BUCKINGHAM”)     was           a

resident of Chatham, New Jersey. He was an Associate Director and in charge of

the New York office of a global maritime service group (the “Victim Company”).

              b.    The Victim Company was headquartered in London, England

and offered, among other services, the handling of subrogation claims related to

marine transportation of goods for insurance companies. As Associate Director

and head of the Victim Company’s New York office, BUCKINGHAM was a

signatory on the Victim Company’s United States bank accounts and had

authority to issue checks on behalf of the Victim Company for legitimate
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business purposes. BUCKINOHAM was also responsible for paying the Victim

Company’s payroll taxes.

             c.    The Victim Company had two bank accounts in the United

States: (1) an operating account (the “Operating Account”) and (2) a client funds

trust account (the “Client Trust Account”). The Operating Account was used to

pay monthly bills, payroll, and fees. The Client Trust Account held client money

collected. The only transactions allowed in the Client Trust Account were: (1)

incoming payments collected on behalf of the Victim Company’s clients; (2)

outgoing payments to the clients of the money recovered by the Victim Company;

and (3) outgoing payments to the Operating Account of the Victim Company’s

fees for recovering the clients’ money.

                            The Scheme to Defraud

      2.    Beginning at least as early as in or around January 2016 through

in or around October 2018, in Union County, in the District of New Jersey and

elsewhere, the defendant,

                             DAVID BUCKINOHAM,

did knowingly and intentionally devise and intend to devise a scheme and

artifice to defraud the Victim Company, and to obtain money and property by

means of materially false and fraudulent pretenses, representations, and

promises, which scheme and artifice was in substance as set forth below.




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                         Goal of the Scheme to Defraud

      3.    The goal of the scheme was for BUCKINGHAM to enrich himself

unlawfully by making unauthorized payments from the Victim Company to

himself in order to obtain funds to which he was not entitled, including by (a)

writing unauthorized checks to himself and “cash” from the Operating Account

while misrepresenting the payments as the Victim Company’s tax payments or

other legitimate business expenses, and (h) writing unauthorized checks to

himself and “cash” from the Client Trust Account.

                 Manner and Means of the Scheme to Defraud

      4.    It was part of the scheme to defraud that:

            a.        BUCKINOHAM wrote checks from the Operating Account to

himself or to “cash” and obtained funds to which he was not entitled. In some

instances BUCKINCIHAM falsified the Victim Company’s books and records in

an effort to make the payments appear legitimate by claiming that certain of

these checks were to make tax payments on behalf of the Victim Company or to

pay other legitimate business expenses, including but not limited to in the

following examples:

                   i.     On or about September 23, 2016, BUCKINGRAM

deposited a check for approximately $3,524.75 from the Operating Account

into BUCKINOHAM’s personal account at an ATM in Berkeley Heights, NJ,

resulting in an interstate wire transmission. BUCKINOHAM misrepresented the

purpose of this payment on the Victim Company’s books and records as

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“PAYROLL TAX.”

                   ii.   On or about October 1, 2016, BUCKINGHAM

deposited a check for approximately $1,978.00 from the Operating Account

into BUCKINGHAM’s personal account at an ATM in Chatham, NJ, resulting in

an interstate wire transmission. BUCKINGHAM misrepresented the purpose of

this payment on the Victim Company’s books and records as “PAYROLL TAX.”

                  iii.   On or about December 6, 2016, BUCKINOHAM

deposited a check for approximately $4,000.00 from the Operating Account

into BUCKINGHAM’s personal account at an ATM in Berkeley Heights, NJ,

resulting in an interstate wire transmission. BUCKINGHAM misrepresented the

purpose of this payment on the Victim Company’s books and records as “TAX

PENALTY.”

            b.      During the relevant time period, BUCKINOHAM did not

make payroll tax payments on behalf of the Victim Company.

            c.     In other instances, BUCKINOHAM wrote checks from the

Client Trust Account to himself or to “cash” and obtained funds he was not

entitled to, including but not limited to in the following examples:

                    i.   On or about March 6, 2017, BUCKINGHAM deposited

a check for approximately $4,250 from the Client Trust Account into

Buckingharn’s personal account at an ATM in Berkeley Heights, NJ, resulting

in an interstate wire transmission.

                   ii.   On or about May 9, 2017, BUCKINGRAM deposited a

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check for approximately $4,250 from the Client Trust Account into

Buckingham’s personal account at an ATM in Berkeley Heights, NJ, resulting

in an interstate wire transmission.

            d.    BUCKINOHAM used the proceeds of the scheme for his own

personal expenses.

            e.    BUCKINGRAM’s conduct resulted in hundreds of thousands

of dollars in losses to the Victim Company.

      5.    On or about the dates set forth below, for the purpose of executing

and attempting to execute the scheme and artifice to defraud, in Union County,

in the District of New Jersey and elsewhere, the defendant,

                             DAVID BUCKINOHAM,

did knowingly and intentionally transmit and cause to be transmitted by

means of wire communications in interstate and foreign commerce certain

writings, signs, signals, pictures, and sounds, as set forth more fully below,

each such wire transmission constituting a separate count of this Indictment:




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Count       Approximate Date                    Description
  1         September 23, 2016    BUCKINOHAM deposited a check
                                  approximatdy $3,524.75 from the
                                  Operating Account into BUCKINGHAM’s
                                  personal account at an ATM in Berkeley
                                  Heights, NJ, resulting in an interstate
                                  wire transmission.
  2           October 1, 2016     BUCKINOHAM deposited a check for
                                  approximately $1,978.00 from the
                                  Operating Account into BUCKINGRAM’s
                                  persona’ account at an ATM in
                                  Chatham, NJ, resulting in an interstate
                                  wire transmission.
  3          December 6, 2016     BUCKINGHAM deposited a check for
                                  approximately $4,000.00 from the
                                  Operating Account into BUCKINGHAM ‘s
                                  personal account at an ATM in Berkeley
                                  Heights, NJ, resulting in an interstate
                                  wire transmission.
  4           March 6, 2017       BUCKINOHAM deposited a check for
                                  approximately $4,250 from the Client
                                  Trust Account into BUCKINGHAM’s
                                  personal account at an ATM in Berkeley
                                  Heights, NJ, resulting in an interstate
                                  wire transmission.
  5             May 9, 2017       BUCKINCIHAM deposited a check for
                                  approximately $4,250 from the Client
                                  Trust Account into BUCKINOHAM’s
                                  personal account at an ATM in Berkeley
                                  Heights, NJ, resulting in an interstate
                                  wire transmission.


  In violation of Title 18, United States Code, Sections 1343 and 2.




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                          FORFEITURE ALLEGATION

      1.     As the result of committing the offense constituting specified

unlawful activity as defined in 18 U.S.C.      § 1956(c)(7), as alleged in Counts One
through Five of this Indictment, defendant DAVID SUCKINGRAM shall forfeit

to the United States, pursuant to 18 U.S.C.       § 981(a)(1)(C) and 28 L.S.C.
§ 246 1(c), all property, real and personal, that constitutes or is derived from
proceeds traceable to the commission of the       wire   fraud offenses, and all

property traceable thereto.

                              Substitute Assets Provision

      2.     If any of the above-described forfeitable property, as a result of any

act or omission of the defendant:

             (a)   cannot be located upon the exercise of due diligence;

             (b)   has been transferred or sold to, or deposited with, a third
                   person;




             (c)   has been placed beyond the jurisdiction of the Court;

             (d)   has been substantially diminished in value; or

             (e)   has been commingled with other property which cannot be

                   subdivided without difficulty;




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it is the intent of the United States, pursuant to 21 U.S.C.   § 853(p), as
incorporated by 28 U.S.C.   § 2461(c), to seek forfeiture of any other property of
the defendant up to the value of the above forfeitable property.




                                                   A True Bill,



                                                   ForePers



CRAIG dAàPEN
United States Attorney




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United States District Court
  District of New Jersey

UNITED STATES OF AMERICA

              V.

    DAVID BUCKINGHAM


     INDICTMENT FOR
        18 U.S.C. § 1343
          18 U.S.C. § 2

            True Bill,




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